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                         EXHIBIT B




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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NEW YORK


   JOSEPH ACCARDO,                                       C.A. No. 2:18-cv-05030-JS-AKT

           Plaintiff,

   v.                                                     NOTICE OF DEPOSITION
                                                         PURSUANT TO FRCP 30(B)(6)
   EQUIFAX, INC., TRANSUNION, LLC,
   SYNCHRONY FINANCIAL and
   LENDING CLUB,

           Defendants.


           PLEASE TAKE NOTICE, that, at 12:00 p.m. on December 17, 2019 at the Buchalter

   Law Firm, located at 55 2nd St #1700, San Francisco, CA 94105, Plaintiff, through counsel, will

   take the oral deposition under oath of the person(s) most knowledgeable for Lending Club before

   a court reporter. Pursuant to Fed. R. Civ. P. 30(b)(6), Lending Club is requested to identify to

   Plaintiffs counsel those persons who will testify on Lending Club's behalf and, for each person

   designated, the matters on which the person will testify. Plaintiff reserves the right to supplement

   the below categories prior to the deposition. The deposition(s) will be recorded by stenographic

   and/or video graphic means before a Notary Public or other person authorized to administer oaths,

   and will continue from day to day until completed.

           PLEASE TAKE FURTHER NOTICE, that the designated representative(s) of

   Defendant must be prepared to testify regarding "matters known or reasonably available to"

   Defendant including but not limited to:

        1. The allegations and facts discussed in Plaintiffs Complaint filed in this lawsuit.

        2. Defendant's Answer, along with its affirmative defenses.

        3. Defendant's responses to discovery served in this action.
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      4. Defendant's account history, records and reports for all accounts Defendant maintains in

         the name of plaintiff of Joseph Accardo, including but not limited to the opening of each

         such account, the charges made and payments received on each such account, all activity

         on each such account, and all steps taken to investigate each such account.

      5. Defendant's account history, records and reports for all accounts bearing any of plaintiffs

         personal identifiers, including but not limited to the opening of each such account, the

         charges made and payments received on each such account, all activity on each such

         account, and all steps taken to investigate each such account.

      6. The identities of all Lending Club employees who had any communications with plaintiff

         concerning each account attributed to him.

      7. The identities of all Lending Club employees who had any involvement in any

         investigation of any account attributed to plaintiff.

      8. The meaning and purpose of all documents produced by defendant.

      9. Defendant's policies and procedures related to disputes alleging inaccurate credit reporting

         due to fraud.

      10. Defendant's policies and procedures for investigating disputes received from individuals

         alleging that Lending Club accounts have been opened in their name by an identity thief.

      11. The number of individuals who have advised Lending Club, since January 1, 2015, that a

         Lending Club account has been opened in their name as the result of identity theft.

      12. The number of investigations Lending Club has opened as a result of individuals advising

         Lending Club, since January 1,2015, that a Lending Club account has been opened in their

         name as the result of identity theft.
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       13. The number of times Lending Club has ended its investigation by concluding that

           individuals - advising Lending Club, since January 1, 2015, that a Lending Club account

           has been opened in their name as the result of identity theft - are making false claims of

           identity theft.

       14. Defendant's investigation(s) of the Lending Club accounts Defendant attributed to

           plaintiff.

       15. Each dispute lodged by plaintiff and any investigation performed and responses made by

           Defendant to each dispute.

       16. Defendant's data files, records and reports (including to third parties), regarding plaintiff

           or using any of plaintiffs personal identifiers.

       17. Defendant's investigation following its receipt of notice from Plaintiff that he had not

           opened any account with Lending Club.

       18. All Communications between plaintiff and defendant.

       19. The computer programs which defendant uses to maintain its account data and histories.

       20. The reasons why Lending Club believes that the Plaintiff is indebted to Lending Club.

           PLEASE NOTE: If an interpreter will be necessary, please notify this office within five

   days of deposition and specify the language and dialect that will be required. Please be advised

   that if you cancel the deposition less than 48 business hours prior to the deposition date, you will

   be fully liable for the fees of the interpreter and the court reporter.


   Dated: November 14,2019                         MARCUS & ZELMAN, LLC

                                                   By: /s/ Yitzchak Zelman
                                                   Yitzchak Zelman, Esq.
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